IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF VIRGINIA
(Charlottesville Division)

QUALITY PROPERTIES ASSET
MANAGEMENT COMPANY,

Plaintiff,
v. Case No. 3:1 l-CV-00053
TRUMP VIRGINIA ACQUISITIONS LLC
and TRUMP VINEYARD ESTATES LLC,

Judge Norlnan K. Moon

Magistrate Judge B. Waugh Crigler
Defendants.

 

TRUMP VIRGINIA ACQUISITIONS LLC
and TRUMP VINEYARD ESTATES LLC,

Counter-plaintiffs,
v.

QUALITY PROPERTIES ASSET
MANAGEMENT COMPANY, BANK OF
AMERICA, N.A. and BEALE, DAVIDSON,
ETHERINGTON & MORRIS, P.C.,

VV\/VV\/\/VV\/\/V\/V\/\/\/V\/VV\/VV

Counter-.defendants.
NOTICE OF MOTION

PLEASE TAKE NOTICE that on the telephonic hearing previously scheduled for March
9, 2012, at 9:30 a.in. before the Honorable B. Waugh Crigler, Defendants/Counter~Plaintiffs
shall present their Motion To Stay Discovery Herein Pending The Court’s Ruling On The
Parties’ CroSs~Motions For Judgment On The Pleadings, which is filed contemporaneously

herewith.

TRUMP VIRGINIA ACQUISITIONS LLC
and TRUMP VINEYARD ESTATES LLC

By: /s/ Stephen Novack
One of Their Attorneys

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CERTIFICATE OF SERVICE

Stephen Novack, an attorney, certifies that he caused copies of the foregoing to be served
by electronically filing the document With the Clerk of Court using the ECF system this 7th day

of March ZOlZ.

/s/ Stephen Novack

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